       Case 1:25-cv-00702-JRR        Document 21      Filed 03/06/25     Page 1 of 19



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                               BALTIMORE DIVISION

AMERICAN ASSOCIATION OF
COLLEGES FOR TEACHER
EDUCATION, et al.,

                   Plaintiffs,
       v.                                         Civil Action No 1:25-cv-00702-JRR

LINDA MCMAHON,
AS SECRETARY OF EDUCATION, et al.,

                   Defendants.


                 NOTICE OF SUPPLEMENTAL DECLARATIONS IN
               SUPPORT OF PLAINTIFFS’ MOTION FOR TEMPORARY
                RESTRAINING ORDER / PRELIMINARY INJUNCTION

       Plaintiffs file this Notice of Supplemental Declarations in Support of their Motion for

Temporary Restraining Order/Preliminary Injunction. The following Supplemental Declarations

are attached hereto:

    a) Exhibit A: Supplemental Declaration of Kathlene Campbell on Behalf of National Center

        for Teacher Residencies;

    b) Exhibit B: Supplemental Declaration of Heather Kirkpatrick on Behalf of Alder Graduate

        School of Education;

    c) Exhibit C: Supplemental Declaration of Sarah Johnson on Behalf of Teaching Lab; and

    d) Exhibit D: Supplemental Declaration of Carolyn Parker on Behalf of American University.
     Case 1:25-cv-00702-JRR   Document 21    Filed 03/06/25     Page 2 of 19



Dated: March 6, 2025                  Respectfully Submitted,

                                       /s/ Joshua W.B. Richards
                                       Joshua W.B. Richards (Admitted Pro Hac Vice)
                                      Carolyn M. Toll (Admitted Pro Hac Vice)
                                      SAUL EWING LLP
                                      1500 Market Street, 38th Floor
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                                      Counsel for Plaintiffs
      Case 1:25-cv-00702-JRR          Document 21       Filed 03/06/25     Page 3 of 19



                               CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on this 6th day of March, 2025, Plaintiffs’ Notice of

Supplementary Declarations in Support of Their Motion for Temporary Restraining

Order/Preliminary Injunction and Exhibits of Supplemental Declarations was filed with the

Clerk of the Court by using the CM/ECF system. I certify that the following counsel of record are

registered as ECF filers and that they will be served by the CM/ECF system:

                                  Molissa Heather Farber
                              US Attorney’s Office District of MD
                                    36 S Charles St, 4th Fl
                                    Baltimore, MD 21201
                                        410-209-4862
                                  molissa.farber@usdoj.gov
                                    Attorney for Defendants


                                                    /s/ Joshua W.B. Richards
                                                    Joshua W.B. Richards
Case 1:25-cv-00702-JRR   Document 21   Filed 03/06/25   Page 4 of 19




                     Exhibit A
       Case 1:25-cv-00702-JRR          Document 21        Filed 03/06/25       Page 5 of 19



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                               BALTIMORE DIVISION

AMERICAN ASSOCIATION OF COLLEGES
FOR TEACHER EDUCATION, et al.,

                   Plaintiffs,
v.
                                                      Civil Action No 1:25-cv-00702-JRR
LINDA MCMAHON,
AS SECRETARY OF EDUCATION, et al.,

                   Defendants.

     SUPPLEMENTAL DECLARATION OF KATHLENE CAMPBELL, PH.D., IN
     SUPPORT OF APPLICATION FOR TEMPORARY RESTRAINING ORDER /
                      PRELIMINARY INJUNCTION


I, Kathlene Campbell, Ph.D., declare and state under penalty of perjury the following:

       1.      I am the Chief Executive Officer of the National Center for Teacher Residencies

(“NCTR”), one of the plaintiffs in this case.

       2.       I am over the age of 18, and I am competent in all respects to testify to the matters

below. I understand that this Supplemental Declaration is for use in connection with the above-

captioned civil action, and I make this Supplemental Declaration based upon my own personal

knowledge and my review of the NCTR’s business records.

       3.      Prior to the termination of NCTR’s Supporting Effective Educator Development

program (“SEED”) grant on February 10, 2025, NCTR was able to draw down funds from the

grant award based on the allowable, allocable, and reasonable costs approved in the grant budget

without prior approval.

       4.      At no point in time was there a change in risk status for NCTR, as its SEED grant

was not terminated for cause.
       Case 1:25-cv-00702-JRR           Document 21        Filed 03/06/25      Page 6 of 19



        5.      After NCTR’s grant was terminated, the Department added, without notice or

process, a special condition to NCTR’s grant requiring prior approval from the Department for

NCTR to draw down funds. This special condition is referred to as “route pay.”

        6.      From the date of termination to the present date, NCTR’s grant has been and

remains in “route pay” status. This means that NCTR is not able to draw down allowable costs

without pre-approval, a condition that did not exist prior to termination.

        7.      Prior to putting NCTR’s grant on route pay status, the Department did not provide

notice to NCTR as to any of the following: (1) The nature of the additional requirements; (2) The

reason why the additional requirements are being imposed; (3) The nature of the action needed to

remove the additional requirement; (4) The time allowed for completing the actions if applicable;

and (5) The method for requesting reconsideration of the additional requirements imposed.

        8.      As a grantee, NCTR is eligible for costs that were properly incurred before its grant

termination date and costs that would not have occurred if the grant was not terminated.

        9.      However, with the grant in route pay status, NCTR has had, and will continue to

have, delays in receiving its grant funds.

        10.     Further, despite requests from NCTR, the Department has not informed NCTR who

it can contact in order to obtain approval to be reimbursed for items that were already approved in

the grant budget. NCTR sent an email to the Department on February 13, 2025 to inquire who

NCTR can contact regarding steps to be reimbursed, and to date, the Department has not provided

the requested contact information.

        11.     NCTR is also concerned that the route pay status adds unwarranted subjectivity to

already approved costs, potentially preventing its ability to receive grant funds NCTR is

legally entitled to.
       Case 1:25-cv-00702-JRR         Document 21         Filed 03/06/25     Page 7 of 19



       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

Executed on the 5 day of March, 2025


                                                  By:
                                                        Kathlene Campbell, Ph.D.
Case 1:25-cv-00702-JRR   Document 21   Filed 03/06/25   Page 8 of 19




                     Exhibit B
       Case 1:25-cv-00702-JRR           Document 21      Filed 03/06/25       Page 9 of 19



                       cIN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                BALTIMORE DIVISION

AMERICAN ASSOCIATION OF COLLEGES
FOR TEACHER EDUCATION, et al.,

                   Plaintiffs,
v.
                                                     Civil Action No 1:25-cv-00702-JRR
LINDA MCMAHON,
AS SECRETARY OF EDUCATION, et al.,

                  Defendants.

     SUPPLEMENTAL DECLARATION OF HEATHER KIRKPATRICK, PH.D., IN
      SUPPORT OF APPLICATION FOR TEMPORARY RESTRAINING ORDER /
                       PRELIMINARY INJUNCTION


I, Heather Kirkpatrick, Ph.D., declare and state under penalty of perjury the following:

       1.      I am the President and Chief Executive Officer at Alder Graduate School of

Education (“Alder GSE”).

       2.      I am over the age of 18, and I am competent in all respects to testify to the matters

below. I understand that this Supplemental Declaration is for use in connection with the above-

captioned civil action, and I make this Supplemental Declaration based upon my own personal

knowledge and my review of Alder Graduate School of Education’s business records.

       3.      Prior to the termination of Alder GSE’s two Teacher Quality Partnership program

(“TQP”) grants on February 13, 2025, Alder GSE was able to draw down funds from the grant

awards based on the allowable, allocable, and reasonable costs approved in the grant budgets

without prior approval.

       4.      At no point in time was there a change in risk status for Alder GSE, as its TQP

grants were not terminated for cause.
        Case 1:25-cv-00702-JRR         Document 21        Filed 03/06/25     Page 10 of 19



        5.     After Alder GSE’s grants were terminated, the Department added, without notice

or process, a special condition to both of Alder GSE’s TQP grants requiring prior approval from

the Department for Alder GSE to draw down funds. This special condition is referred to as “route

pay.”

        6.     From the date of termination to the present date, Alder GSE’s grants have been and

remain in “route pay” status. This means that Alder GSE is not able to draw down allowable costs

without pre-approval, a condition that did not exist prior to termination.

        7.     Prior to putting Alder GSE’s grants on route pay status, the Department did not

provide notice to Alder GSE as to any of the following: (1) The nature of the additional

requirements; (2) The reason why the additional requirements are being imposed; (3) The nature

of the action needed to remove the additional requirement; (4) The time allowed for completing

the actions if applicable; and (5) The method for requesting reconsideration of the additional

requirements imposed.

        8.     As a grantee, Alder GSE is eligible for costs that were properly incurred before its

grant termination date and costs that would not have occurred if the grants were not terminated.

        9.     However, with the grants in route pay status, Alder GSE has had, and will continue

to have, delays in receiving its grant funds.

        10.    Alder GSE has reached out to the Department for information on the timing and

process for obtaining approval for the route pay structure and the Department has, to date, been

unable to provide any information on the process or the timing. Alder GSE has expenses that were

incurred prior to the termination of the grants on February 13, 2025 that were submitted for draw

down shortly after the termination date. Those drawdowns have been in pending approval status

since then.
      Case 1:25-cv-00702-JRR           Document 21        Filed 03/06/25     Page 11 of 19



        11.     Alder GSE is also concerned that the route pay status adds unwarranted subjectivity

to already approved costs, potentially preventing its ability to receive grant funds Alder GSE is

legally entitled to.


        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

Executed on the 5th day of March, 2025


                                                   By:
                                                         Heather Kirkpatrick, Ph.D.
Case 1:25-cv-00702-JRR   Document 21   Filed 03/06/25   Page 12 of 19




                     Exhibit C
Docusign Envelope ID: 84510D05-DE85-4858-B574-EFFC306B18BD
                    Case 1:25-cv-00702-JRR             Document 21      Filed 03/06/25      Page 13 of 19



                                      IN THE UNITED STATES DISTRICT COURT
                                         FOR THE DISTRICT OF MARYLAND
                                              BALTIMORE DIVISION

            AMERICAN ASSOCIATION OF
            COLLEGES FOR TEACHER
            EDUCATION, et al.,

                                  Plaintiffs,
                     v.                                             Civil Action No 1:25-cv-00702-JRR

            LINDA MCMAHON,
            AS SECRETARY OF EDUCATION, et al.,

                                  Defendants.


                SUPPLEMENTAL DECLARATION OF DR. SARAH JOHNSON IN SUPPORT OF
                 APPLICATION FOR TEMPORARY RESTRAINING ORDER / PRELIMINARY
                                        INJUNCTION


            I, Dr. Sarah Johnson, declare and state under penalty of perjury the following:

                     1.      I am the Chief Executive Officer of Teaching Lab, and have served in this role since

            2018. Teaching Lab is a national not-for-profit corporation with a mission to improve teacher

            practice and student learning through curriculum-based professional learning and coaching.

                     2.       I am over the age of 18, and I am competent in all respects to testify to the matters

            below. I understand that this Supplemental Declaration is for use in connection with the above-

            captioned civil action, and I make this Supplemental Declaration based upon my own personal

            knowledge and my review of the Teaching Lab’s business records.

                     3.      Prior to the termination of Teaching Lab’s Teacher and School Leader Incentive

            Program (“TSL”) grant on February 18, 2025, Teaching Lab was able to draw down funds from

            the grant award based on the allowable, allocable, and reasonable costs approved in the grant

            budget without prior approval.
Docusign Envelope ID: 84510D05-DE85-4858-B574-EFFC306B18BD
                    Case 1:25-cv-00702-JRR             Document 21    Filed 03/06/25      Page 14 of 19



                     4.      At no point in time was there a change in risk status for Teaching Lab, as its TSL

            grant was not terminated for cause.

                     5.      After Teaching Lab’s grant was terminated, the Department added, without notice

            or process, a special condition to Teaching Lab’s grant requiring prior approval from the

            Department for Teaching Lab to draw down funds. This special condition is referred to as “route

            pay.”

                     6.      From the date of termination to the present date, Teaching Lab’s grant has been and

            remains in “route pay” status. This means that Teaching Lab is not able to draw down allowable

            costs without pre-approval, a condition that did not exist prior to termination.

                     7.      Prior to putting Teaching Lab’s grant on route pay status, the Department did not

            provide notice to Teaching Lab as to any of the following: (1) The nature of the additional

            requirements; (2) The reason why the additional requirements are being imposed; (3) The nature

            of the action needed to remove the additional requirement; (4) The time allowed for completing

            the actions if applicable; and (5) The method for requesting reconsideration of the additional

            requirements imposed.

                     8.      As a grantee, Teaching Lab is eligible for costs that were properly incurred before

            its grant termination date and costs that would not have occurred if the grant was not terminated.

                     9.      However, with the grant in route pay status, Teaching Lab has had, and will

            continue to have, delays in receiving its grant funds.

                     10.     Teaching Lab is also concerned that the route pay status adds unwarranted

            subjectivity to already approved costs, potentially preventing its ability to receive grant funds

            Teaching Lab is legally entitled to.
Docusign Envelope ID: 84510D05-DE85-4858-B574-EFFC306B18BD
                    Case 1:25-cv-00702-JRR             Document 21     Filed 03/06/25     Page 15 of 19



                     Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

            and correct.
                               6
            Executed on the        day of March, 2025


                                                                By:
                                                                      Sarah J. Johnson
Case 1:25-cv-00702-JRR   Document 21   Filed 03/06/25   Page 16 of 19




                     Exhibit D
      Case 1:25-cv-00702-JRR          Document 21        Filed 03/06/25      Page 17 of 19



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                               BALTIMORE DIVISION

AMERICAN ASSOCIATION OF
COLLEGES FOR TEACHER
EDUCATION, et al.,

                   Plaintiffs,
       v.                                            Civil Action No 1:25-cv-00702-JRR

LINDA MCMAHON,
AS SECRETARY OF EDUCATION, et al.,

                   Defendants.


SUPPLEMENTAL DECLARATION OF CAROLYN PARKER, PH.D. IN SUPPORT OF
  APPLICATION FOR TEMPORARY RESTRAINING ORDER / PRELIMINARY
                         INJUNCTION


I, Carolyn Parker, Ph.D., declare and state under penalty of perjury the following:

       1.      I am the Associate Dean for Research, Programs, and Partnerships Director of

Graduate Teacher Education and Academic Programs School of Education at American

University.

       2.      I am over the age of 18, and I am competent in all respects to testify to the matters

below. I understand that this Supplemental Declaration is for use in connection with the above-

captioned civil action, and I make this Supplemental Declaration based upon my own personal

knowledge and my review of the American University’s business records.

       3.      Prior to the termination of American University’s (“AU”) Teacher Quality

Partnership Program (“TQP”) grant on February 12, 2025, AU was able to draw down funds from

the grant award based on the allowable, allocable, and reasonable costs approved in the grant

budget without prior approval.
       Case 1:25-cv-00702-JRR          Document 21        Filed 03/06/25     Page 18 of 19



        4.     At no point in time was there a change in risk status for AU, as its TQP grant was

not terminated for cause.

        5.     After AU’s grant was terminated, the Department added, without notice or process,

a special condition to AU’s grant requiring prior approval from the Department for AU to draw

down funds. This special condition is referred to as “route pay.”

        6.     From the date of termination to the present date, AU’s grant has been and remains

in “route pay” status. This means that AU is not able to draw down allowable costs without pre-

approval, a condition that did not exist prior to termination.

        7.     Prior to putting AU’s grant on route pay status, the Department did not provide

notice to AU as to any of the following: (1) The nature of the additional requirements; (2) The

reason why the additional requirements are being imposed; (3) The nature of the action needed to

remove the additional requirement; (4) The time allowed for completing the actions if applicable;

and (5) The method for requesting reconsideration of the additional requirements imposed.

        8.     As a grantee, AU is eligible for costs that were properly incurred before its grant

termination date and costs that would not have occurred if the grant was not terminated.

        9.     However, with the grant in route pay status, AU has had, and will continue to have,

delays in receiving its grant funds.

        10.    AU is also concerned that the route pay status adds unwarranted subjectivity to

already approved costs, potentially preventing its ability to receive grant funds AU is legally

entitled to.


        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.
     Case 1:25-cv-00702-JRR       Document 21     Filed 03/06/25    Page 19 of 19



Executed on the 6 day of March, 2025


                                           By:
                                                 Carolyn Parker Ph.D.
